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                              UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF MARYLAND

United States of America                      *
                                              *              Case No.: 1:19-cr-00449
         v.                                   *
                                              *
Kenneth Ravenell                              *
                                              *
                 Defendant.                   *
                                              *
*        *       *      *      *       *      *       *      *       *      *       *      *


            KENNETH RAVENELL'S REPLY IN SUPPORT OF RENEWED
          MOTION FOR BAIL PENDING APPEAL



          Kenneth Ravenell, by and through undersigned counsel, hereby respectfully

    submits this reply in support of his Renewed Motion for Bail Pending Appeal




                         ("Renewed Motion").

                                           ARGUMENT

    I.       THE COURT SHOULD GRANT MR. RAVENELL BAIL PENDING TI I E
             CONCLUSION OF APPELLATE PROCEEDINGS.

          The Government concedes, as it has throughout these proceedings, that Mr.

    Ravenell satisfies three of the four statutory elements for obtaining bail pending appeal.

    The sole issue is whether Mr. Ravenell has established that his appeal "raises a substantial

    question of law or fact likely to result in," among other relief, reversal or an order for a

    new trial. See 18 U.S.C. § 3143(b)(1).1



    1 Notably, the Government does not dispute that it incorrectly advised the Court of the
    applicable standard during oral argument. See Renewed Motion at 4 n.2.

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       The Government spends most of the opposition re-litigating the merits of Mr.

Ravenell's appeal in an effort to show that "none of [his arguments] work" and that "the

dissent and amicus's reasoning is flawed." Opp'n at 5-6. But Mr. Ravenell need not

show that his arguments "work," or that the reasoning of the dissent and amicus will be

adopted by the en banc Fourth Circuit, to obtain bail pending appeal. Instead, he simply

is required to demonstrate "a close question or one that very well could be decided the

other way," United States v. Steinhorn, 927 F.2d 195,196 (4th Cir. 1991) (per curiam).

As explained in the Renewed Motion, Mr. Ravenell has carried that burden by pointing

to the objective indicia of substantiality that have arisen during the course of appellate

proceedings, including the issuance of a dissenting opinion adopting his position, the

filing of a petition for rehearing en banc with amicus support, and the Fourth Circuit's

request for a response from the Government two days thereafter. See Renewed Motion

at 4-6. Tellingly, the Government cannot identify a single case in which a court denied

bail pending appeal in similar circumstances.2

       Perhaps recognizing the vulnerability of its position under the proper standard, the

Government offers a novel argument that neither this Court nor any judge in the Fourth

Circuit has embraced. The Government now suggests that Mr. Ravenell did not "raise"



2 To be clear, Chief Judge Gregory disagreed with the merits-based arguments that the
Government raises in its opposition. Renewed Motion Ex. B, Panel Op., at 41-44 & 42 n.2
(Gregory, C.J., dissenting) (concluding that Mr. Ravenell "proffer[ed] a `correct' instruction"
on the statute of limitations and explaining that "it defies logic that Ravenell would have
insisted on a lower burden of proof" than that suggested by the Government); id. at 47-51
(Gregory, C.J., dissenting) (cataloguing the "ample evidence in the record that would have
allowed the jury to conclude" that the charged conspiracy terminated outside of the limitations
period). It is notable that the Government here, like the Fourth Circuit panel majority, does
not dispute Chief Judge Gregory's logic regarding Mr. Ravenell's proposed instruction.

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the "limitations issue" as required under Smith v. United States, 568 U.S. 106 (2013), and

that this supposed failure justifies the lack of a jury instruction on the statute of limitations

applicable to the conspiracy count of conviction. Opp'n at 5, 7. But this argument is

inconsistent with prior opinions of both this Court and the Fourth Circuit panel majority.

Amended Order Denying Motion for a New Trial, ECF No. 559, at 3 (noting that Mr.

Ravenell "raised" the limitations argument in his Rule 29 motion and proposed jury

instructions); Renewed Motion Ex. B, Panel Op., at 7-9 (recounting that Mr. Ravenell

argued in both of his Rule 29 motions that the Government had not proven that the money

laundering conspiracy continued into the limitations period, and that he "again renewed

this issue" twice "in connection with the jury instructions"). And once raised, as done in

the trial in this case, the Government rightfully acknowledges that it bears the burden to

"prove the time of the conspiracy offense." Smith, 568 U.S. at 113; see also Opp'n at 7.

By relying so heavily on an argument that no Fourth Circuit judge has adopted to respond

to Mr. Ravenell's position on appeal and in the Renewed Motion, the Government all but

admits that the appeal as currently postured presents the requisite "substantial question."3

       Finally, the Government briefly cites evidence presented at trial and claims that

"the limitations issue is not important enough to warrant reversal or a new trial." Opp'n




3 Contrary to the Government's suggestion, Opp'n at 2-3, the panel majority did not hold that
Mr. Ravenell failed to "raise" a limitations defense under Smith. Rather, the panel majority
disregarded Smith, improperly shifted the burden of proof to Mr. Ravenell, and concluded
that Mr. Ravenell did not "shown" or "establish" that the charged conspiracy "was terminated
or that he affirmatively withdrew from the conspiracy prior to the operative July 2, 2014
limitations date." Renewed Motion, Ex. B, Panel Op., at 16. Nevertheless, the panel majority
did not equate this purported "required showing" that a conspiracy terminated with the
separate requirement that a defendant "raise" the defense in the first instance under Smith.

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at 7. If an appellate court agrees with Mr. Ravenell, however, the remedy clearly would

be to vacate his sole count of conviction and remand for a new trial. See, e.g., Renewed

Motion, Ex. B, Panel Op., at 52 (Gregory, C.J., dissenting). This satisfies the second

prong of the "substantial question" inquiry. See Steinhorn, 927 F.2d at 196 (granting bail

pending appeal where reversal "likely" would lead to a new trial).




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                                   CONCLUSION

      For the foregoing reasons and those stated in the Renewed Motion, Mr. Ravenell

respectfully requests that the Court grant him bail pending the conclusion of his appeal

(including any proceedings in the Supreme Court).




June 29, 2023                           Respectfully submitted,

                                        /s/ Paul A. Solomon

                                        SKADDEN, ARPS, SLATE, MEAGHER 8z FLOM LLP
                                        Paul A. Solomon (Bar No. 19920)
                                        Michael A. McIntosh (pro hac vice)
                                        Skadden, Arps, Slate, Meagher & Flom LLP
                                        1440 New York Ave. NW
                                        Washington, DC 20005
                                        paul.solomon@skadden.com
                                        michael.mcintosh@skadden.com
                                        Phone: (202) 371-7000
                                        Fax: (202) 393-5760

                                        David M. Zornow (pro hac vice)
                                        SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
                                        One Manhattan West
                                        New York, NY 10001
                                        david.zomow@skadden.com
                                        Phone: (212) 735-3000
                                        Fax: (212) 735-2040




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 29th day of June, 2023, I caused a copy of

Kenneth Ravenell's Reply in Support of Renewed Motion for Bail Pending Appeal



                                      to be served upon counsel for the United

States of America via email.




                                             /s/ Paul A. Solomon

                                             Paul A. Solomon
                                             Attorneyfor Kenneth Ravenell




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